         Case 4:19-cv-02107-MWB Document 90 Filed 08/28/23 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CLAYTON ANDREWS                                     :
                              Plaintiff,            :       CIVIL ACTION NO.
                                                    :       No. 4:19-CV-02107-MWB
       v.                                           :
                                                    :
BRETHREN MUTUAL INSURANCE                           :
COMPANY                                             :
                   Defendant.                       :       JURY TRIAL DEMANDED

DEFENDANT’S RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION IN LIMINE
           TO PRECLUDE THE REPORT AND TESTIMONY OF
                 FIRE EXPERT RUSSEL L. ANDRESS

       Defendant, Brethren Mutual Insurance Company, (hereinafter referred to as “Brethren

Mutual”), by and through its counsel, Durkin Law Offices, P.C., responds in opposition to

Plaintiff’s Motion in Limine to Preclude the Report and Testimony of Fire Expert Russel L.

Andress, and avers as follows:

       1.      Admitted.

       2.      Admitted, based upon information and belief.

       3.      Admitted in part. It is admitted that Brethren Mutual Insurance Company issued a

policy of insurance bearing number CPP 002406900 to Clayton Andrews, which was in full force

and effect subject to all of its terms and conditions on December 14, 2017.

       4.      Admitted.

       5.      Admitted.

       6.      Admitted.

       7.      Admitted.

       8.      Admitted.
         Case 4:19-cv-02107-MWB Document 90 Filed 08/28/23 Page 2 of 2




       9.      Admitted in part; denied in part. It is admitted that at trial, Brethren Mutual will

call Russel L. Andress as an expert witness in the area of fire origin and cause investigation. At

trial, the Defendant will, in support of its contention that Mr. Andress is an expert in fire

investigation, elicit testimony from him regarding his qualifications and introduce into evidence

his curriculum vitae, which reflects his extensive fire investigation experience. It is also admitted

that Brethren Mutual will elicit testimony from Mr. Andress regarding his investigation into the

origin and cause of the fire and introduce into evidence his report, which sets forth his opinions to

a reasonable degree of scientific certainty. See curriculum vitae of Russel L. Andress, and report

of Russel L. Andress, attached respectively hereto and incorporated herein as Exhibit “A” and “B”.

       10.     Denied. This paragraph of Plaintiff’s Motion contains conclusions of law to which

no response is required. By way of further response, it is specifically denied that Mr. Andress’

opinions “parrot” the ideas and conclusions of Alex Profka, are not the product of reliable

principles or methods, and are based entirely on unsupported speculation and conjecture, and are

not facts of record.

       11.     Denied. This paragraph of Plaintiff’s Motion contains conclusions of law to which

no response is required.

       WHEREFORE, Defendant, Brethren Mutual Insurance Company, respectfully requests

that this Honorable Court deny Plaintiff’s Motion in Limine.

                                                              Respectfully submitted,

                                                              DURKIN LAW OFFICES, P.C.

                                                       BY: /s/ Martin A. Durkin
                                                           Martin A. Durkin, Esquire
                                                           Attorney for Defendant
